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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 JOHN PAUL MAC ISAAC,            )
                                 )
           Plaintiff,            )
                                 )
       v.                        )                Case No. 1:23-cv-247
                                 )
 CABLE NEWS NETWORK, INC., ADAM )
 BENNETT SCHIFF, POLITICO LLC,   )
 ROBERT HUNTER BIDEN, AND BFPCC, )
 INC.,                           )
                                 )
           Defendants.           )

                                  NOTICE OF LODGING

       The United States hereby lodges those state court pleadings in Isaac v. Cable News

Network, Inc., Superior Court of the State of Delaware, County of Sussex, Miscellaneous Civil

Action No. S22C-10-012-RHR, available on LEXIS.

                                             Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General
                                             Civil Division

                                             JAMES G. TOUHEY, JR.
                                             Director, Torts Branch

                                              /s/ Stephen R. Terrell
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                                    Counsel for the United States


Dated: March 8, 2023
